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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA



UNITED STATES OF AMERICA,                          Case No. 10cr110 (2) RHK/JJK

                            Plaintiff,                        ORDER

                   v.

(2) LASHUN DANARIO ROBINSON,

                            Defendant.


        Christian S. Wilton, Assistant United States Attorney, OFFICE OF THE UNITED
        STATES ATTORNEY, 300 South Fourth Street, Suite 600, Minneapolis, Minnesota
        55415, for plaintiff.

        Mark D. Larsen, LINDQUIST & VENNUM, PLLP, 80 South Eighth Street, Suite 4200,
        Minneapolis, Minnesota 55402, for defendant.

        IT IS HEREBY ORDERED that defendant Lashun Danario Robinson’s Motion to File

Documents under Seal is granted.



        June 21, 2011                         s/Richard H. Kyle
                                              RICHARD H. KYLE
                                              United States District Judge




DOCS-#3472139-V1
